Case 2:21-cr-00219-APG-DJA Document3 Filed 09/01/21 Page1of1

 

 

 

 

 

 

 

 

 

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COUNSEL/PARTIES OF RECORD
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UNITED STATES DISTRICT COURT CLERKUSD
[STRICT COURT
DISTRICT OF NEVADA DISTRICT OF NEVADA
BY: DEPUTY
IN THE MATTER OF THE PARTIAL MINUTES OF COURT
REPORTS OF THE REGULAR GRAND JURY DATE: September _1, 2021 @ 11:14 a.m. to 11:15 a.m.
THE November 4,2020 TERM. 20-01
PRESENT: The Honorable Brenda Weksler ss, U.S. Magistrate Judge.
DEPUTY CLERK: Lorena Quintero REPORTER: Natasha Bachman

UNITED STATES ATTORNEY: Edward G. Veronda COURTROOM: 3B

A roll call of the Grand Jury is taken with 18 members present for deliberations which constituted a quorum.
The foreperson of the Grand Jury presented its partial report and indictments.

On the motion of the United States Attorney, IT IS ORDERED that the said report and indictments be filed.
There is 0 SEALED indictment(s).

On the motion of the United States Attorney, IT IS ORDERED that the terms of release as to each defendant are
fixed as indicated and that Bench Warrant and Summons issue where indicated.

2:21-cr-00219-APG-DJA JOSHUA A. MARTINEZ WARRANT

2:21-cr-00242-GMN-VCF LARRY GLOVER LOCA FEDERAL CUSTODY

IT IS ORDERED that the Initial Appearance/Arraignment & Plea as to: 2:21-cr-242 be held on Thursday,
September 9, 2021 @ 2:30 p.m. before MAGISTRATE JUDGE NANCY J. KOPPE in Courtroom 3C,

The Arraignment and Plea will be held at the time of the Initial Appearance.

DEBRA KEMPI, Clerk
United States District Court

/S/ Lorena Quintero

 

Deputy Clerk

 
